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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

JAMES SPRINGER,

         Plaintiff,

v.
                                                                            Case No. 1:23-cv-00499-MIS-JMR
SEVENTH JUDICIAL DISTRICT
COURT, MERCEDES MURPHY,
SHANNON MURDOCK-POFF,
JASON JONES, and SUSAN
ROSSIGNOL,

         Defendants.

          ORDER GRANTING IN PART PLAINTIFF’S EXPEDITED MOTION TO
                               RECONSIDER

         THIS MATTER is before the Court on Plaintiff James Springer’s Expedited Motion to

Reconsider, ECF No. 36, filed September 21, 2023. In his Motion, Plaintiff asks the Court to

reconsider its Order Denying his Motion for a Temporary Restraining Order and Preliminary

Injunction (“Order”) on the grounds that the Order erroneously found that he failed to provide an

affidavit (1) in support of his Motion for a Temporary Restraining Order and Preliminary

Injunction (“Motion”) or (2) verifying his Complaint. Id. at 1. Plaintiff explains that on August

10, 2023, he filed a “Notice of Completion of Briefing, Service and Additional Information,” ECF

No. 25, to which he attached a Declaration in support of his Motion and Complaint. Id. (citing

Declaration, ECF No. 25-2).1 In the Declaration, Plaintiff states, inter alia: “I am familiar with the


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                  In his Motion to Reconsider, Plaintiff pointedly admonishes the Court for overlooking the
Declaration he attached as an exhibit to his Notice of Completion of Briefing. ECF No. 36 at 1. He further admonishes
the Court for overlooking the Declaration because in his second Notice of Completion of Briefing, ECF No. 32, he
incorporated the first Notice of Completion of Briefing “and all attached exhibits therein[,]” ECF No. 36 at 1-2.
         Typically, a party wishing to file a verified complaint either includes the declaration under penalty of perjury
required by 28 U.S.C. § 1746 in the complaint, see, e.g., Peck v. Midland Funding, LLC, No. 2:11–CV–611 TS, 2012
WL 1095469, at *1 (D. Utah Mar. 30, 2012), or attaches a declaration as an exhibit to the complaint, see, e.g., Stewart
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contents of the Complaint and the Motion . . . and I verify that they are true and correct to the best

of my knowledge.” ECF No. 25-2.

         The Court accepts that Plaintiff has, in fact, filed a Declaration in support of his Motion

and Complaint. Because the Court’s Order states that Plaintiff failed to file an affidavit in support

of his Motion and refers to the Complaint as “unverified” (the “offending language”), the Court

will issue an Amended Order that accounts for the Declaration and omits the offending language.

However, because the amendments do not alter the Court’s conclusion that Plaintiff has failed to

carry his burden of establishing entitlement to a preliminary injunction, Plaintiff’s Motion for

Reconsideration is denied in all other respects.2

         Accordingly, it is HEREBY ORDERED that Plaintiff’s Expedited Motion to Reconsider

is GRANTED IN PART as follows: the Court will issue an Amended Order that accounts for the

Declaration and omits the offending language.



                                                                  ………………………………………….
                                                                  MARGARET STRICKLAND
                                                                  UNITED STATES DISTRICT JUDGE



v. Guzman, 555 F. App’x 425, 432 (5th Cir. 2014). Similarly, a party who wishes to support a motion with an affidavit
or declaration (or any other evidence) attaches it as an exhibit to the motion and cites to it in the motion. This is the
first time the Court has seen a party attach a declaration verifying a complaint to a Notice of Completion of Briefing
filed two months after the Complaint. It is also the first time the Court has seen a party attach any sort of evidence in
support of a motion to a Notice of Completion of Briefing. Simultaneously indicating that briefing is complete and
including additional information for a court to consider seems anomalous. A Notice of Completion simply notifies
the Court “that the motion is ready for decision . . . .” D.N.M.LR-Civ. 7.4(e). As such, the Court does not review
Notices of Completion for substantive argument or evidence.
           Because Plaintiff filed his Motion two months before he filed his Declaration, he did not cite the Declaration
in his Motion. See ECF No. 1 at 11-15. And although he could have drawn the Court’s attention to the Declaration by
citing it in his Reply brief, he did not cite it in his Reply brief. See ECF No. 33. Although this seems gratuitous, for
all future filings the Court directs the parties to draw the Court’s attention to evidence it wishes the court to review in
its actual briefings.
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                 The Court finds that the remaining arguments and assertions raised in Plaintiff’s Motion for
Reconsideration are without merit.

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